
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NOS. 2-03-090-CR

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;2-03-091-CR
 



FRANK MIMS, III &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;					 &nbsp;&nbsp;&nbsp;&nbsp;		APPELLANT



V.



THE STATE OF TEXAS	STATE

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FROM COUNTY CRIMINAL 
COURT NO. 3 OF DENTON COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant's “Defendant’s/Appellant’s Motion To Withdraw Notice Of Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. 
Tex. R.
 
App
. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
See id.;
 
Tex. R. App. P.
 43.2(f).

PER CURIAM

PANEL D:	DAUPHINOT, GARDNER, and WALKER, JJ.

DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



DELIVERED: March 27, 2003

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




